       Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 1 of 11 PageID #:1



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ADIS ALIC and ALMA ALIC,

     Plaintiff,                                          CIVIL ACTION 1:16-cv-08182

v.
                                                         COMPLAINT
NEW    PENN           FINANCIAL, d/b/a
SHELLPOINT                  MORTGAGE
SERVICING,                                               JURY TRIAL DEMANDED

     Defendant.

                                            COMPLAINT

         NOW COMES the Plaintiffs, ADIS ALIC and ALMA ALIC, by and through their

attorneys, SULAIMAN LAW GROUP, LTD., complaining of the Defendant, NEW PENN

FINANCIAL, d/b/a SHELLPOINT MORTGAGE SERVICING, as follows:

                                       NATURE OF THE ACTION

1.       This is an action brought by a consumer seeking redress for violation(s) of the Fair Debt

         Collection Practices Act, 15 U.S.C. 1692 et. seq. and the Illinois Consumer Fraud and

         Deceptive Business Practices Act, 815 ILCS 505/1 et. seq.

                                      JURISDICTION AND VENUE

2.       Subject matter jurisdiction exists over the Fair Debt Collection Practices Act claim(s)

         under 28 U.S.C. §§ 1331 and 1337.

3.       Supplemental jurisdiction exists over the Illinois Consumer Fraud and Deceptive

         Business Practices Act claim(s) under 28 U.S.C. § 1367.

4.       Venue is proper under 28 U.S.C. § 1391(b) as a substantial part of the events giving rise

         to the claims took place in the Northern District of Illinois.
                                                   1
         Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 2 of 11 PageID #:2



                                                      PARTIES

5.         ADIS ALIC and ALMA ALIC (hereinafter “Plaintiffs”) are natural persons, over 18-

           years-of-age, who at all times relevant resided at the property commonly known as 7941

           Karlov Avenue, Skokie, Illinois 60076.

6.         NEW PENN FINANCIAL, d/b/a SHELLPOINT MORTGAGE SERVICING (hereinafter

           “Defendant”) is a foreign corporation formed under the laws of the State of Delaware.

           Defendant has a principal place of business located at 4000 Chemical Road, Suite 200,

           Plymouth Meeting, Pennsylvania 19462..

                                             FACTUAL ALLEGATIONS

7.         On December 5, 2006, Plaintiffs executed a mortgage in favor of ABN AMRO Mortgage

           Group, Inc. to secure a promissory note in the amount of $501,600.00. The note was

           payable in monthly installments of $2,351.25 with a maturity date of January 1, 2037.

8.         On November 8, 2011, Bank of America, N.A., by and through its attorneys, Pierce &

           Associates, P.C. filed its Complaint to Foreclose Mortgage to foreclose on the property

           located at 7941 Karlov Avenue, Skokie, Illinois 60076.1

9.         On June 27, 2012, a bankruptcy case concerning Plaintiffs was filed under Chapter 7 of

           the United States Bankruptcy Code.2 See Exhibit A, a true and correct copy of the Notice

           of Chapter 13 Bankruptcy Case, Meeting of Creditors and Deadlines and Certificate of

           Notice.     The schedules filed by Plaintiffs listed Saxon Mortgage Services, Inc.3 on



1
    Case No. 11 CH 38740 (Bank of America, N.A. v. Adis Alic, Alma Alic, et. al.)
2
    Case No. 12-25828 (In re Adis Alic and Alma Alic f/k/a Alma Besic)
3
 Subsequently, the servicing of Plaintiff's mortgage Loan was transferred from Saxon Mortgage Services, Inc. to
Ocwen Loan Servicing, LLC to Shellpoint Mortgage Servicing.

                                                           2
      Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 3 of 11 PageID #:3



       Schedule D - Creditors Holding Secured Claims. See Exhibit B, a true and correct copy

       of Schedule D – Creditors Holding Secured Claims.

10.    On October 23, 2012, Plaintiffs were granted a discharge under section 727 of the United

       States Bankruptcy Code. See Exhibit C, a true and correct copy of the Discharge of

       Debtor and Certificate of Notice. The discharge prohibits any attempt to collect from

       Plaintiffs a debt that has been discharged.

11.    On March 17, 2015, Sulaiman Law Group, Ltd. filed an Answer to Bank of America,

       N.A.'s Complaint to Foreclose Mortgage and Appearance. on behalf of Plaintiffs.

12.    On March 14, 2016, Defendant sent Plaintiffs written correspondence acknowledging

       receipt of Plaintiffs' incomplete request for a loss mitigation program. See Exhibit D, a

       true and correct copy of the March 14, 2016 written correspondence.

13.    On April 20, 2016, Defendant sent Plaintiffs a Mortgage Statement, with a payment

       coupon attached, which provided that the “Amount Due” was $264,936.54; the “Payment

       Due Date” was May 1, 2016; and

       You are late on your mortgage payments. Failure to bring your loan current
       may result in fees and foreclosure - the loss of your home. As of 04/20/2016, you
       are 2,546 days delinquent on your mortgage loan.

       Recent Account History
           Payment due 11/01/15 unpaid balance of $244,098.01
           Payment due 12/01/15 unpaid balance of $2,722.57
           Payment due 01/01/16 unpaid balance of $2,509.32
           Payment due 02/01/16 unpaid balance of $2,635.65
           Payment due 03/01/16 unpaid balance of $2,759.53
           Payment due 04/01/16 unpaid balance of $2,759.53
           Payment due 05/01/16 current payment due
           Total: $264,936.54 due. You must pay this amount to bring your loan
             current.

       See Exhibit E, a true and correct copy of the April 20, 2016 Mortgage Statement.

                                                 3
      Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 4 of 11 PageID #:4



14.    On April 28, 2016, Defendant sent Plaintiffs written correspondence acknowledging

       receipt of Plaintiffs' incomplete request for a loss mitigation program. See Exhibit F, a

       true and correct copy of the April 28, 2016 written correspondence.

15.    On May 23, 2016, Defendant sent Plaintiffs written correspondence acknowledging

       receipt of Plaintiffs complete request for a loss mitigation program. See Exhibit G, a true

       and correct copy of the May 23, 2016 written correspondence.

16.    On May 26, 2016, Defendant sent Plaintiffs a Mortgage Statement, with a payment

       coupon attached, which provided that the “Amount Due” was $272,594.43; the “Payment

       Due Date” was June 1, 2016; and

       You are late on your mortgage payments. Failure to bring your loan current
       may result in fees and foreclosure - the loss of your home. As of 05/26/2016, you
       are 2,582 days delinquent on your mortgage loan.

       Recent Account History
           Payment due 12/01/15 unpaid balance of $246,933.58
           Payment due 01/01/16 unpaid balance of $2,509.32
           Payment due 02/01/16 unpaid balance of $2,635.65
           Payment due 03/01/16 unpaid balance of $2,759.53
           Payment due 04/01/16 unpaid balance of $2,759.53
           Payment due 05/01/16 unpaid balance of $7,575.81
           Payment due 06/01/16 current payment due
           Total: $272,594.43 due. You must pay this amount to bring your loan
             current.

       See Exhibit H, a true and correct copy of the May 26, 2016 Mortgage Statement.

17.    On June 18, 2016, Defendant sent Plaintiffs a Mortgage Statement, with a payment

       coupon attached, which provided that the “Amount Due” was $280,234.32; the “Payment

       Due Date” was July 1, 2016; and

       You are late on your mortgage payments. Failure to bring your loan current
       may result in fees and foreclosure - the loss of your home. As of 06/18/2016, you
       are 2,605 days delinquent on your mortgage loan.

                                                4
      Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 5 of 11 PageID #:5



       Recent Account History
           Payment due 01/01/16 unpaid balance of $249,537.90
           Payment due 02/01/16 unpaid balance of $2,635.65
           Payment due 03/01/16 unpaid balance of $2,759.53
           Payment due 04/01/16 unpaid balance of $2,759.53
           Payment due 05/01/16 unpaid balance of $7,575.81
           Payment due 06/01/16 unpaid balance of $7,544.89
           Payment due 07/01/16 current payment due
           Total: $280,234.32 due. You must pay this amount to bring your loan
             current.

       See Exhibit I, a true and correct copy of the June 18, 2016 Mortgage Statement.

18.    On July 15, 2016, Defendant sent Plaintiffs written correspondence notifying Plaintiffs

       that Defendant was unable to offer Plaintiffs a loan modification. See Exhibit J, a true

       and correct copy of the July 15, 2016 written correspondence.

19.    On July 19, 2016, Defendant sent Plaintiff a Mortgage Statement, with a payment coupon

       attached, which provided that the “Amount Due” was $287,655.33; the “Payment Due

       Date” was August 1, 2016; and

       You are late on your mortgage payments. Failure to bring your loan current
       may result in fees and foreclosure - the loss of your home. As of 07/19/2016, you
       are 2,636 days delinquent on your mortgage loan.

       Recent Account History
           Payment due 02/01/16 unpaid balance of $252,173.55
           Payment due 03/01/16 unpaid balance of $2,759.53
           Payment due 04/01/16 unpaid balance of $2,759.53
           Payment due 05/01/16 unpaid balance of $7,575.81
           Payment due 06/01/16 unpaid balance of $7,544.89
           Payment due 07/01/16 unpaid balance of $7,421.01
           Payment due 08/01/16 current payment due
           Total: $287,655.33 due. You must pay this amount to bring your loan
             current.

       See Exhibit K, a true and correct copy of the July 19, 2016 Mortgage Statement.




                                               5
      Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 6 of 11 PageID #:6



20.    As a result of Defendant’s systematic campaign of unlawful collection activity, Plaintiff

       has suffered emotional distress (i.e., confusion, frustration and humiliation) and mental

       distress.

           COUNT I – VIOLATION(S) OF THE FAIR DEBT COLLECTION PRACTICES ACT
      15 U.S.C. § 1692C(A)(2) - COMMUNICATION IN CONNECTION WITH DEBT COLLECTION

21.    All paragraphs of this Complaint are expressly adopted and incorporated herein as though

       fully set forth herein.

22.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

23.    The mortgage loan is a “debt” as defined by 15 U.S.C. § 1692a(5).

24.    Defendant is a “debt collector as defined by 15 U.S.C. § 1692a(6).

25.    Defendant is attempting to collect a debt used for “household purpose” as defined by 15

       U.S.C. § 1692a(5).

26.    Defendant violated 15 U.S.C. § 1692c(a)(2) by communicating with Plaintiff in

       connection with the collection of the mortgage loan on March 14, 2016, April 20, 2016,

       April 28, 2016, May 23, 2016, May 26, 2016, June 18, 2016, July 15, 2016 and July 19,

       2016, when Defendant knew Plaintiff was represented by an attorney and had knowledge

       of Plaintiff's attorney's name and address.

       WHEREFORE, Plaintiff requests the following relief:

       a.      actual, and statutory damages, and costs of this action including expenses together

               with attorneys’ fees as determined by this Court; and

       b.      any other relief deemed appropriate and equitable.




                                                 6
      Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 7 of 11 PageID #:7



             COUNT II – VIOLATION(S) OF THE FAIR DEBT COLLECTION PRACTICES ACT
                15 U.S.C. § 1692E(2) - FALSE OR MISLEADING REPRESENTATIONS

27.    All paragraphs of this Complaint are expressly adopted and incorporated herein as though

       fully set forth herein.

28.    Section 523(a)(2) of the United States Bankruptcy Code provides:

       (a)      A discharge in a case under this title –

                (2)    operates as an injunction against the commencement or continuation of an
                       action, the employment of process, or an act, to collect, recover or offset
                       any such debt as a personal liability of the debtor; whether or not
                       discharge of such debt is waived; and

21.    Defendant violated 15 U.S.C. § 1692e(2) by falsely representing the character, amount or

       legal status of Plaintiff's mortgage loans. The mortgage loan was not collectable at the

       time Defendant demanded payment by virtue of the bankruptcy discharge.

       WHEREFORE, Plaintiff requests the following relief:

       a.       actual, and statutory damages, and costs of this action including expenses together

                with attorneys’ fees as determined by this Court; and

       b.       any other relief deemed appropriate and equitable.

             COUNT III – VIOLATION(S) OF THE FAIR DEBT COLLECTION PRACTICES ACT
                15 U.S.C. § 1692E(10) - FALSE OR MISLEADING REPRESENTATIONS

22.    All paragraphs of this Complaint are expressly adopted and incorporated herein as though

       fully set forth herein.

23.    Defendant violated 15 U.S.C. § 1692e(10) by using false representation or deceptive

       means to collect or attempt to collect Plaintiff's mortgage loans. The mortgage loan was

       not collectable at the time Defendant demanded payment by virtue of the bankruptcy

       discharge.


                                                  7
      Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 8 of 11 PageID #:8



       WHEREFORE, Plaintiff requests the following relief:

       a.      actual, and statutory damages, and costs of this action including expenses together

               with attorneys’ fees as determined by this Court; and

       b.      any other relief deemed appropriate and equitable.

            COUNT IV – VIOLATION(S) OF THE FAIR DEBT COLLECTION PRACTICES ACT
                            15 U.S.C. § 1692F - UNFAIR PRACTICES

24.    All paragraphs of this Complaint are expressly adopted and incorporated herein as though

       fully set forth herein.

25.    Defendant violated 15 U.S.C. § 1692f by using unfair and unconscionable means to

       collect and/or attempt to collect Plaintiff's mortgage loans. The mortgage loan was not

       collectable at the time Defendant demanded payment by virtue of the bankruptcy

       discharge..

       WHEREFORE, Plaintiff requests the following relief:

       a.      actual, and statutory damages, and costs of this action including expenses together

               with attorneys’ fees as determined by this Court; and

       b.      any other relief deemed appropriate and equitable.

            COUNT V – VIOLATION(S) OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          15 U.S.C. § 1692F(1) - UNFAIR PRACTICES

26.    All paragraphs of this Complaint are expressly adopted and incorporated herein as though

       fully set forth herein.

27.    Defendant violated 15 U.S.C. § 1692f(1) by attempting to collect the mortgage. The

       collection of Plaintiff's mortgage loans was not permitted by law at the time Defendant

       demanded payment by virtue of the bankruptcy discharge.

       WHEREFORE, Plaintiff requests the following relief:

                                                8
      Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 9 of 11 PageID #:9



       a.      actual, and statutory damages, and costs of this action including expenses together

               with attorneys’ fees as determined by this Court; and

       b..     any other relief deemed appropriate and equitable.

               COUNT VI – VIOLATION(S) OF THE ILLINOIS CONSUMER FRAUD
             AND DECEPTIVE BUSINESS PRACTICES ACT - 815 ILCS 505/1 ET SEQ.

36.    All paragraphs of this Complaint are expressly adopted and incorporated herein as though

       fully set forth herein.

37.    Plaintiff is a “person” as defined by 815 ILCS § 505/1(c).

38.    Plaintiff is a “consumer” as defined by 815 ILCS § 505/1(e).

39.    Defendant is engaged in “commerce” as defined by 815 ILCS § 505/1(f).

40.    The Illinois Consumer Fraud and Deceptive Business Practices Act is a regulatory and

       remedial statute intended to protect borrowers, businesses and consumers against fraud,

       unfair methods of competition, and other unfair and deceptive business practices.

41.    An Illinois Consumer Fraud and Deceptive Business Practices Act claim requires (1) a

       deceptive act or practice by the defendant, (2) the defendant’s intent that the plaintiff rely

       on the deception, (3) the occurrence of the deception in a course of conduct involving

       trade or commerce, and (4) actual damage to the plaintiff that is (5) a result of the

       deception.

42.    Defendant violated the Illinois Consumer Fraud and Deceptive Business Practices Act by

       unfairly and deceptively inducing Plaintiff to make payments notwithstanding the

       bankruptcy discharge.




                                                 9
      Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 10 of 11 PageID #:10



43.     Upon information and belief, Defendant has engaged in a systematic campaign of

        unlawful collection activity – involving inducing consumers to make payments

        notwithstanding the automatic stay.

44.     Any person who suffers actual damage as a result of a violation of this Act may bring an

        action against such person. The court, in its discretion, may award actual economic

        damages or other relief which the court deems proper.

45.     An award of actual damages is appropriate as Defendant’s deceptive and unfair acts are

        the proximate causation of Plaintiff's emotional distress (i.e., confusion, frustration and

        humiliation) and mental distress.

46.     An award of punitive damages is appropriate as Defendant’s deceptive and unfair acts

        were outrageous, wanton and willful, and showed a conscious disregard and indifference

        for the rights of Plaintiff, and consumers generally.

        WHEREFORE, Plaintiff requests the following relief:

        a.     actual, and punitive damages, and costs of this action include expenses together

               with attorney’s fees as determined by this Court; and

        b.     any other relief deemed appropriate and equitable.

Plaintiff demands trial by jury.

August 18, 2016                                                 Respectfully submitted,

                                                                /s/ Joseph Scott Davidson

                                                                Joseph Scott Davidson
                                                                SULAIMAN LAW GROUP, LTD.
                                                                900 Jorie Boulevard
                                                                Suite 150
                                                                Oak Brook, Illinois 60523
                                                                t: 630-575-8181
                                                                f: 630-575-8188

                                                 10
Case: 1:16-cv-08182 Document #: 1 Filed: 08/18/16 Page 11 of 11 PageID #:11



                                               e: jdavidson@sulaimanlaw.com

                                               Counsel for Adis Alic and Alma Adic




                                    11
